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                        UNITED STATES DISTRICT COURT FOR THE
                            SOU TH ERN D ISTRICT O F FLOR ID A
                                      M iam iD ivision

                                    17-22478-C IV -M O R EN O

K URT M A RIN ,etal.,

               Plaintiff,
VS.

W A SH ING TON M UTU A L BA N K F.A .,et
al.,

               Defendants.


                                  O R DER D ISM ISSIN G C A SE

       THIS CAUSE cam e before the Courtupon Plaintiffs'M otion for Leave to Proceed in

formapauperis(D.E.3),tiledonJune30.2017.
       TH E COU RT has considered the m otion,the pertinentportions of the record, and being

otherw ise fully advised in the prem ises,itis

       ADJUDGED that the Com plaint is DISM ISSED pursuant to the Rooker-Feldman

doctrine.Rooker v. Fidelity Trust Co.,263 U.S.413 (1923),
                                                        .Districtof Columbia Courtof
Appeals v.Feldman,460 U.S.462 (1983).The Rooker-Feldman doctrineisticonfined to cases
broughtby state-courtloserscomplaining ofinjuriescaused by state-courtjudgmentsrendered
before the federaldistrictcourtproceedings comm enced and inviting districtcourtreview and

rejectionofthosejudgments.''ExxonMobilCorp.v.SaudiBasicIndus.Corp.,544U.S.280,283
(2005).
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        ln thiscase,Plaintiffs allege variouscountsagainstDefendants,which al1stem from the

 foreclosure ofa hom e.The Courtintem retsthisasan appealofthe foreclosure action.This is

 exactly the type ofaction prohibited by the Rooker-Feldman doctrine.Accordingly,thiscase is

 D ISM ISSED pursuantto the Rooker-Feldman doctrine.

                                                                         r
        DONE AND ORDERED in Cham bersatM iami,Florida,this                ofAugust2017.
                                                                           ,.M



                                          FEDERI        .      NO
                                          UN ITE -      TES D ISTRICT JU D GE

 Copies fum ished to:
 Counselofrecord




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